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 4
     Attorney for Defendant: PEDRO OLGUIN-LEON
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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        Case No. 1:14-cr-00226-DAD-BAM-2
12                     Plaintiff,
13          v.                                        STIPULATION AND ORDER TO
                                                      CONTINUE SENTENCING
14   PEDRO OLGUIN-LEON,
15                     Defendant.
16

17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their

18   respective attorneys of record, that the sentencing hearing in the above captioned matter now set

19   for May 21, 2018, at 10:00 a.m., may be continued to July 2, 2018, and that a New PSR Schedule

20   be set such that the Informal Objections are due June 4, 2018, the final PSR is due June 11, 2018,

21   and the Formal Objections are due June 18, 2018.

22          The continuance is requested by counsel for Defendant, PEDRO OLGUIN-LEON as

23   Attorney Daniel L. Harralson was at home ill when the Informal Objections were due and the

24   time to submit Informal Objections had passed by the time Counsel returned to his office.

25   Counsel has discussed the contents of this Stipulation with Probation Officer Anthony Andrews

26   and AUSA Servatius.

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     Case 1:14-cr-00226-DAD-BAM Document 135 Filed 05/16/18 Page 2 of 2


 1   DATED: May 15, 2018                  Respectfully Submitted,

 2
                                          /s/ Daniel L. Harralson
 3                                        DANIEL L. HARRALSON
                                          Attorney for Defendant
 4

 5   DATED: May 15, 2018                  UNITED STATES ATTORNEYS OFFICE

 6
                                          /s/ Kathleen Servatius
 7                                        KATHLEEN SERVATIUS
                                          Assistant United States Attorney
 8

 9                                               ORDER

10          The court has reviewed and considered the stipulation of the parties to continue the

11   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

12   defendant currently scheduled for May 21, 2018, is continued until July 2, 2018, at 10:00 a.m. in

13   courtroom 5 before District Judge Dale A. Drozd. Informal Objections are due June 4, 2018, the

14   final PSR is due June 11, 2018, and the Formal Objections are due June 18, 2018.

15   IT IS SO ORDERED.
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        Dated:     May 16, 2018
17                                                       UNITED STATES DISTRICT JUDGE

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